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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 SALIM I. SINDHI                                    §
                                                    §
 Plaintiff,                                         §
                                                    §
 v.                                                 § CIVIL ACTION NO. 3:15-CV-3229-D
                                                    §
 KUNAL R. RAINA                                     §
                                                    §
 Defendant.                                         §


  SALIM I. SINDHI’S MOTION FOR ISSUANCE OF A PERMANENT INJUNCTION

           Plaintiff Salim I. Sindhi (“Sindhi”) respectfully submits this Motion for the Issuance of a

Permanent Injunction against Kunal R. Raina (“Raina”), his employees and agents, enjoining them

from undermining or collaterally attacking the Final Judgment entered by this Court on November

6, 2017. Raina has recently filed a new action in India centered on the same allegations of theft of

trade secrets and copyright infringement that were the subject matter of this litigation.

           Sindhi requests that a permanent injunction be issued against Raina ordering him to dismiss

his new Indian litigation and to take no further action with respect to that litigation or any other

litigation against Sindhi and Bulletlink that would undermine or attack this Court’s Final Judgment

and Injunction.

      I.      Background

           Since 1999, Sindhi has done business in Texas under the name bulletlink.com

(“Bulletlink”). The key asset of Bulletlink is a content management system (“CMS”) developed

by Sindhi that permits users to create and manage online newspapers. The source code used to run

this CMS is considered a highly proprietary and confidential trade secret. In 2008, Sindhi hired

Raina as a manager with access to the CMS source code. Raina stole the source code and other

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valuable and highly confidential trade secrets related to the operations of Bulletlink from Sindhi.

With these materials, Raina founded his own company, TechCruiser Solutions, which offers a

pirated version of the Bulletlink CMS to customers in the online news industry.

       Sindhi brought this action against Raina on October 5, 2015 for Copyright Infringement

and violations of the Texas Uniform Trade Secrets Act. A brief history of the relevant events and

orders of this Court is provided below to give context to Sindhi’s request for an Antisuit Injunction.

                               THE PERMANENT INJUNCTION

       Following the entry of a default judgment, this Court issued a Permanent Injunction

(“Permanent Injunction”) on November 21, 2016 enjoining Raina from using Sindhi’s Trade

Secrets to operate TechCruiser and from accepting payments from customers for his CMS products

or services. (Dkt. 30). Raina ignored the Permanent Injunction and moved his operations overseas

to frustrate its enforcement. Id.

               ORDER TO SHOW CAUSE AND EVIDENTIARY HEARING

       On September 20, 2017, the Court issued a Memorandum Opinion and Order denying

Raina’s motion to overturn the default judgment and ordering Raina to show cause for his

violations of the Permanent Injunction at an evidentiary hearing on October 27, 2017. (Dkts. 59;

60). The Court issued a bench warrant for Raina’s arrest when he failed to attend the hearing. (Dkt.

71). Raina’s attorney was present at the hearing and cross-examined Sindhi.

                        THE FINAL JUDGMENT AND INJUNCTION

       On November 6, 2017, the Court issued a Final Judgment and Final Injunction awarding

Sindhi $1,393,494 and enjoining Raina, individually and d/b/a TechCruiser.com and/or

TechCrusier Solutions, his officers, agents, servants, employees, and attorneys, and all those in

active concert or participation with him (“Enjoined Parties”) from possessing, publishing,



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disclosing, or utilizing the trade secrets, including the source code used to generate and operate

the TechCruiser Content Management System (“CMS”) that Raina misappropriated from Sindhi,

individually and d/b/a bulletlink.com, as well as the customer lists, customer data, and business

model that Raina misappropriated from Sindhi (collectively, the “Sindhi Trade Secrets”). (Dkt.

75).

        The Enjoined Parties are also prohibited from using the services of “eUKHost.com,

iomart.com, or any other webhost, PayPal.com, CCAvenue.com, or any other electronic payment

processer, Google, Bing, Yahoo, or any other search engines, GoDaddy, bigrock.com,

namecheap.com, enom.com, TuCows.com, networksolutions.com, register.com, icann.org, or any

other domain name registrars, comm100.com, or any other live chat service, smtp.com, or any

other email relay service, usamail1.com, or any other virtual mail service, and Facebook, Twitter,

Google Plus, or any other social media outlet, service, or company to conduct, promote, advertise,

or advance TechCruiser, TechCruiser Solutions, or TechCruiser.com.” Id. The Enjoined Parties

are also prohibited from providing any CMS products or services to a list of third-party newspaper

publishers. Id. at 3.

  SINDHI’S COMMUNICATIONS TO THIRD-PARTIES ABOUT THE PERMANENT
                      AND FINAL INJUNCTION

        Sindhi notified many of TechCruiser’s vendors and clients of the Permanent Injunction

issued on November 21, 2016. He sent similar notice letters to the third-parties listed in the Final

Injunction, including both TechCruiser customers who were using the TechCruiser CMS, and

suppliers and vendors whose services helped to support TechCruiser’s improper activities,

informing them about the existence of the Final Injunction and asking them to comply with its

terms. For example, Sindhi provided GoDaddy notice of the issuance of both the Permanent and

Final Injunctions and asked GoDaddy to block or remove the internet domain name registration


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associated with TechCruiser.com. Sindhi made similar requests of PayPal and other third-party

vendors that Raina/TechCruiser were using in express violation of the Permanent Injunction and

Final Injunctions.

                                        THE INDIA LAWSUIT

        Raina filed an action against Sindhi in India on December 5, 2017 (“India Lawsuit”) in

which he alleged that the litigation filed in this Court was “frivolous.” Further, Raina alleged that

Sindhi’s communications to third parties about the Court’s Permanent Injunction were

defamatory,1 and asked for monetary damages for defamation based on the letters that Sindhi had

sent to third-parties like GoDaddy and PayPal notifying them of the Permanent Injunction shortly

after it issued on November 21, 2016. Raina also seeks an order enjoining Sindhi from

communicating with TechCruiser’s clients and business associates. Id.

        The India Lawsuit represents a collateral attack on the Permanent Injunction, the Final

Judgment, and the Final Injunction. At the same time that Raina launched his attack on the Final

Judgment through the India Lawsuit, he simultaneously filed a Motion for New Trial in this Court

(which this Court has denied, see Dkt. 81) and a Notice of Appeal with the Fifth Circuit. Raina has

repeatedly demonstrated his unwillingness to comply with the terms of the Permanent and Final

Injunctions. He is still offering his CMS system online in violation of both injunctions more than

a month after this Court issued a bench warrant for his arrest. Raina is trying to interfere with

enforcement of this Court’s injunctions by securing an order from a court in India to bar Sindhi

from communicating with others about this Court’s orders. Accordingly, Sindhi hereby requests

an order further enjoining Raina from pursuing the India Lawsuit.




1
 The India Lawsuit was filed in Civil Court Senior Division, Nashik, India bearing the caption Kunal Raina v.
Bulletlink Technologies and Parveen Salim Sindhi (Registration No. 440/2017).

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     II.      Legal Standard

           The party requesting an injunction must typically show: (1) a substantial likelihood that

the plaintiff will prevail on the merits, (2) a substantial threat that the plaintiff will suffer

irreparable injury if the injunction is not granted, (3) that the threatened injury to the plaintiff

outweighs the threatened harm the injunction may do to the defendant, and (4) that granting the

injunction will not disserve the public interest. Karaha Bodas Co. v. Negara, 335 F.3d 357, 363

(5th Cir. 2003).

           The Firth Circuit has, however, recognized that this test is not particularly useful in the

context of foreign antisuit injunctions. Id. at 364 (noting that because a foreign antisuit injunction

is a “particular subspecies of preliminary injunction … we need not address all the factors that

generally are prerequisites to obtaining a preliminary injunction.”). Instead, the Fifth Circuit has

held that “the suitability of such relief ultimately depends on considerations unique to antisuit

injunctions.” Id. Accordingly, the Fifth Circuit examines whether the foreign litigation would: (1)

frustrate a policy of the forum issuing the injunction; (2) be vexatious or oppressive; (3) threaten

the issuing court’s in rem or quasi in rem jurisdiction; or (4) cause prejudice or offend other

equitable principles. Commercializadora Portimex S.A. De Cv v. Zen-Noh Grain Corp., 373 F.

Supp. 2d 645, 649 (E.D. La. 2005) (citing Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 626 (5th Cir.

1996)).2




2
  Courts that consider the traditional injunction factors find that they favor issuance of the antisuit injunction,
particularly when, like here, a final judgment has been issued. See Commercializadora Portimex S.A. De Cv v. Zen-
Noh Grain Corp., 373 F. Supp. 2d 645, 653 (E.D. La. 2005) citing New York Life Ins. Co. v. Deshotel, 946 F. Supp.
454, 465 (E.D. La. 1996) (“Courts have repeatedly found that immediate and irreparable injury results from having to
defend claims that should be barred.”).

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     III.      Argument and Authorities

            Sindhi seeks to prevent vexatious and expensive serial litigation involving the same issues

and to protect and effectuate this Court’s Permanent Injunction, Final Judgment, and Final

Injunction. Sindhi requests a permanent injunction prohibiting Raina, TechCruiser, and their

principals and agents from maintaining the India Lawsuit and to enjoin Raina, TechCruiser, and

their principals and agents from instituting and/or causing to institute any other actions against

Sindhi or Bulletlink in any jurisdiction involving Raina’s theft of Sindhi’s Trade Secrets at issue

in this litigation.3

            Raina seeks a ruling in the India Lawsuit that Sindhi’s letters to vendors and clients about

the Permanent Injunction were defamatory. Ex. A at 12. He has also requested an order restraining

Sindhi from sending any letters or communications to his clients and “business associates” in the

future. Id. at 12. Such an order would undermine the Final Judgment and directly threaten this

Court’s jurisdiction. Raina has repeatedly shown that he will not abide by the terms of the

Permanent or Final Injunctions prohibiting him from using the services of the third-parties listed

in the Final Injunction to promote, advertise, and advance TechCruiser and providing CMS

services to online newspaper publishers. Dkt. 75 at 2-3. However, many of these third-parties have

willingly complied with the Final Injunction after receiving notice of it from Sindhi. An order

preventing Sindhi from communicating with these or other parties would deprive Sindhi of one of

the only available options of enforcing the Injunction.

            Courts weighing antisuit injunctions must consider “the extent to which the foreign suit is

duplicitous of the litigation in the United States.” Karaha Bodas Co. v. Negara, 335 F.3d 357, 366



3
  To be clear, Salim is not seeking to restrict Raina from pursuing any proper appeal of the Court’s Final Judgment.
Rather, Salim is asking the Court to restrict Raina from filing new lawsuits, in India, the United States, or elsewhere,
that have the effect of attacking the Final Judgment or attempting to prevent Salim from enforcing the Final Judgment.

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(5th Cir. 2003). While Raina’s employee, Abhijeet Bhausaheb Dighe, was added to the India

Lawsuit, his presence in the India Lawsuit does not weigh against issuance of the Antisuit

Injunction. Dighe was bound by the express terms of this Court’s Permanent and Final Injunctions

and Fed. R. Civ. P. 65(d)(2) as an employee, agent, and/or person acting in concert with Raina and

TechCruiser. Moreover, it is well established that the parties and claims do not have to be identical

for an antisuit injunction to issue. Paramedics Electromedicina Comercial, Ltda. v. GE Med. Sys.

Info. Techs., Inc., 369 F.3d 645, 652 (2d Cir. 2004) (finding “substantial similarity” between the

parties to the domestic and foreign litigation, even though one party was only a party to one of the

two suits).

       Similarly, Raina asserted a claim for defamation in the India Lawsuit that was not asserted

in this case. However, a new claim asserted in the foreign litigation is considered sufficiently

duplicative if it could have been asserted as a compulsory counterclaim in the original litigation

under Fed. R. Civ. P. 13(a). See Butte Mining PLC v. Smith, 1994 U.S. App. LEXIS 12331, at *5

(9th Cir. 1994) (“[W]here a party seeks to litigate a compulsory counterclaim in a foreign country,

and where the pursuit of such litigation could result in inconsistent rulings and the likelihood of

unnecessary delay, substantial inconvenience and expense, the district court has the discretion to

enter an injunction against the foreign proceeding.”); Umbro Int’l, Inc. v. Japan Prof’l Football

League, 1997 U.S. Dist. LEXIS 24371, at *6 (D.S.C. 1997) (“[T]he only claim asserted by the J.

League in the Japanese litigation should have been asserted as a compulsory counterclaim under

Fed. R. Civ. P. 13(a) in this case.”); Quaak v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren,

361 F.3d 11, 20 (1st Cir. 2004) (issues in different suits were “substantially similar”).

       Raina’s defamation claim in the India Litigation is a compulsory counterclaim that should

have been brought in this litigation. Raina’s defamation claim is centered on letters Sindhi sent to



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Raina’s vendors and customers in November and December of 2016. Ex. A at 12. In addition to

being baseless, this claim should have been brought as a compulsory counterclaim before the Final

Judgment issued on October 27, 2017.

       Federal Rule 13(a) requires that any claim which “arises out of the transaction or

occurrence that is the subject matter of the opposing party’s claim” is a compulsory claim and

must be asserted, or it will be deemed waived. Fed.R.Civ.P. 13(a). The Fifth Circuit has adopted

the “logical relationship” test to determine if a claim is sufficiently related to the primary claim so

as to be compulsory. United States v. Aronson, 617 F.2d 119, 121 (5th Cir.1980). A logical

relationship exists when “the same operative facts serve as the basis of both claims or the aggregate

core of facts upon which the claim rests activates additional legal rights, otherwise dormant, in the

defendants.” Plant v. Blazer Financial Services, Inc., 598 F.2d 1357, 1361 (5th Cir.1979). Raina’s

defamation claim involves the same facts decided by the Court in this litigation; namely, whether

Raina and his employees misappropriated Sindhi’s trade secrets and source code and used them to

create TechCruiser. That factual dispute was being litigated in this Court for almost a year after

Sindhi sent the letters. Thus, Raina was obligated to assert his defamation claim in this litigation

pursuant to Fed. R. Civ. P. 13(a).

       Finally, the concept of international comity should not prevent the issuance of an Antisuit

Injunction. The Fifth Circuit does not elevate “principles of international comity to the virtual

exclusion of essentially all other considerations.” Kaepa, Inc., 76 F.3d at 627; see also Goss Int'l

Corp. v. Man Roland Druckmaschinen Aktiengesellschaft, 491 F.3d 355, 360 (8th Cir. 2007)

(noting a split in the circuits regarding the weight to afford international comity). The Fifth Circuit

has noted that “notions of comity do not wholly dominate [the] analysis to the exclusion of these

other concerns.” Karaha Bodas Co., 335 F.3d at 366. Moreover, it is well established that



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“international comity concerns about issuing an antisuit injunction against foreign litigation are

lessened when a case has already proceeded to final judgment on the merits in the domestic court.”

Commercializadora Portimex S.A. De Cv v. Zen-Noh Grain Corp., 373 F. Supp. 2d 645, 652 (E.D.

La. 2005) (citing cases).4

         Sindhi is suffering irreparable injury by being forced to go to the expense of litigating the

same facts, in a different jurisdiction, while still attempting to preserve the Final Judgment and

Final Injunction entered in his favor by this Court. Inconsistent judgments could result from

duplicative litigation in India that would render worthless the orders of this Court. Raina should

not be permitted to prevent Sindhi from enforcing this Court’s Injunction.

     Conclusion

         For the foregoing reasons, Sindhi asks the Court to enjoin Raina, TechCruiser, and their

officers, agents, servants, employees, attorneys, and any other persons who are in active concert

or participation with them, from maintaining the India Litigation and/or causing to institute any

other actions against Sindhi or Bulletlink in any jurisdiction that involves Raina’s theft of Sindhi’s

Trade Secrets to create the TechCruiser CMS system.




4
 Indeed, Salim anticipates that the court in India will likely find an anti-suit injunction issued by this Court
persuasive and will likely dismiss Raina’s India Lawsuit as a result.

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                                                      Respectfully submitted,

                                                      By: /s/ Steven N. Williams
                                                      Steven N. Williams
                                                      swilliams@mcdolewilliams.com
                                                      Texas Bar No. 21577625

                                                      Zac Duffy
                                                      zduffy@mcdolewilliams.com
                                                      Texas Bar No. 24059697

                                                      MCDOLE WILLIAMS
                                                      A Professional Corporation
                                                      1700 Pacific Avenue, Suite 2750
                                                      Dallas, Texas 75201
                                                      (214) 979-1122 - Telephone
                                                      (214) 979-1123 – Facsimile

                                                      ATTORNEYS FOR PLAINTIFF
                                                      SALIM SINDHI


                               CERTIFICATE OF CONFERENCE

       The parties conducted a conference on January 16, 2017 between Zac Duffy and Ian Burke
Perry. Mr. Perry confirmed that this motion is opposed.


                                                          /s/ Zac Duffy
                                                          Zac Duffy


                                  CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing document is being served on
all parties on January 17, 2017 via the Court’s ECF system in accordance with Rule 5 of the Federal
Rules of Civil Procedure.


                                                           /s/ Steven N. Williams
                                                               Steven N. Williams




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